AUG-05-2008 17:39 Murphy Law Firm 2259288802 P.OO1
Case 2:05-cv-04182-SRD-JCW Document 14307-2 Filed 08/05/08 Page 1 of 3

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Donald Maclies and Betty Maclies v, Alistate
Insurance Company

In Re: KATRINA CANAL BREACHES § — CIVIL ACTION
CONSOLIDATED LITIGATION § NO. 05-4182 “K”(2)
§ JUDGE DUVAL
§ | MAG. WILKINSON
§
§
§
PERTAINS TO: §
INSURANCE (07-4786) §
§
§
§

MOTION AND ORDER TO ENROLL AND
WITHDRAWAL COUNSEL OF RECORD

NOW INTO COURT, comes Peyton P. Murphy attorney for plaintiffs, DONALD
MACLIES AND BETTY MACLIES, who moves this Honorable Court to enroll as counsel of
record for the plaintiffs:

Jeffrey P. Berniard
Berniard Law Firm

625 Baronne Street
New Orleans, Louisiana 70113

Further, Peyton P. Murphy moves this Honorable Court to withdraw himself as counsel of
AUG-05-2008 17:39 Murphy Law Firm 2259288802 P.002
Case 2:05-cv-04182-SRD-JCW Document 14307-2 Filed 08/05/08 Page 2 of 3

record for the plaintiffs, for the following reason to-wit:

Plaintiffs are being represented by other counsel.

WHEREFORE, Peyton P. Murphy prays that after due consideration is given herein that he
be allowed to enroll Jeffrey P. Berniard as counsel of record for plaintiffs, DONALD MACLIES

AND BETTY MACLIES, and withdraw himself as counsel of record for plaintiffs in this matter.

Respectfully submitted:

MURPHY LAW FIRM

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PEYTON P MURPHY (#22125)
7035 Jeffetson Hwy

uge, LA 70806
Telephone: (225) 928-8800
Facsimile: (225) 928-8802

AUG-05-2008 17:39 Murphy Law Firm 2259288802 P.003
Case 2:05-cv-04182-SRD-JCW Document 14307-2 Filed 08/05/08 Page 3 of 3

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a copy of the above and foregoing Motion and Order to Enroll
and Withdraw as Counsel of Record have this date been placed in the United States Mail, properly
addressed and with sufficient postage affixed thereon to Defendants through counsel of record:
Charles M. Ponder, III
LOZES & PONDER
1010 Common Street, Suite 1700

New Orleans, LA 70012
ATTORNEY FOR ALLSTATE INSURANCE COMPANY

a
Baton Rouge, Louisiana , this » day of Aust , 2008.

fn”

PEYT@N P. HY

